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 8
 9                           IN THE UNITED STATES DISTRICT COURT

10                              EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          CASE NO. 1:18-CR-00252-NONE
12
                                  Plaintiff,            STIPULATION TO CONTINUE SENTENCING;
13                                                      ORDER
                           v.
14                                                      DATE: March 13, 2020
     ROSEMARIE MARTINEZ,                                TIME: 8:30 a.m.
15                                                      COURT: Hon. Dale A. Drozd
                                 Defendant.
16

17

18
                                                 ORDER
19
            Pursuant to the parties’ stipulation, the sentencing currently scheduled for March 13,
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     2020 at 8:30 a.m. is hereby continued to March 27, 2020 at 8:30 a.m.
21
     IT IS SO ORDERED.
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23      Dated:    February 11, 2020
                                                      UNITED STATES DISTRICT JUDGE
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